                 Case 8:20-cv-00048-JVS-JDE Document 1986 Filed 06/28/24 Page 1 of 3 Page ID
                                                 #:170270

             1     MARK D. SELWYN, SBN 244180
                    mark.selwyn@wilmerhale.com
             2     THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             4     2600 El Camino Real, Suite 400
                   Palo Alto, CA 94306
             5     Tel.: 650.858.6000 / Fax: 650.858.6100
             6     JOSHUA H. LERNER, SBN 220755
                     joshua.lerner@wilmerhale.com
             7     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8     One Front Street, Suite 3500
                   San Francisco, CA 94111
             9     Tel.: 628.235.1000 / Fax: 628.235.1001
           10      AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
           12      2100 Pennsylvania Ave NW
                   Washington, DC 20037
           13      Tel.: 202.663.6000 / Fax: 202.663.6363
           14      [Counsel appearance continues on next page]
           15      Attorneys for Defendant Apple Inc.
           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           19      CERCACOR LABORATORIES, INC.,                  APPLE’S NOTICE OF
                   a Delaware corporation,                       AVAILABILITY PURSUANT TO THE
           20                                                    COURT’S JUNE 25 ORDER (DKT.
                                      Plaintiffs,                1983)
           21
                         v.
           22
                   APPLE INC.,
           23      a California corporation,
           24                         Defendant.
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                    APPLE’S NOTICE OF AVAILABILITY PURSUANT TO THE COURT’S JUNE 25 ORDER (DKT. 1983)
Wilmer Cutler
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1986 Filed 06/28/24 Page 2 of 3 Page ID
                                                 #:170271

             1     JOSEPH J. MUELLER, pro hac vice
                    joseph.mueller@wilmerhale.com
             2     SARAH R. FRAZIER, pro hac vice
                    sarah.frazier@wilmerhale.com
             3     WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4     60 State Street
                   Boston, MA 02109
             5     Tel.: 617.526.6000 / Fax: 617.526.5000
             6     NORA Q.E. PASSAMANECK, pro hac vice
                    nora.passamaneck@wilmerhale.com
             7     WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8     1225 Seventeenth Street, Suite 2600
                   Denver, CO 80202
             9     Tel.: 720.274.3152 / Fax: 720.273.3133
           10      BRIAN A. ROSENTHAL, pro hac vice
                    brosenthal@gibsondunn.com
           11      GIBSON, DUNN & CRUTCHER LLP
                   200 Park Avenue
           12      New York, NY 10166-0193
                   Tel.: 212.351.2339 / Fax: 212.817.9539
           13
                   KENNETH G. PARKER, SBN 182911
           14       ken.parker@haynesboone.com
                   HAYNES AND BOONE, LLP
           15      660 Anton Boulevard, Suite 700
                   Costa Mesa, CA 92626
           16      Tel.: 650.949.3014 / Fax: 949.202.3001
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                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
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                 Case 8:20-cv-00048-JVS-JDE Document 1986 Filed 06/28/24 Page 3 of 3 Page ID
                                                 #:170272

             1                  Pursuant to the Court’s June 25 Order requiring the parties to notify the
             2     Court of their availability for a Markman hearing by close of business on June 28 (Dkt.
             3     1983), Apple notifies the Court that it is available on July 18 or 22. Apple is not
             4     available on July 8, 9, or 10, the dates Masimo proposed.
             5
             6     Dated: June 28, 2024             Respectfully submitted,
             7
             8                                            JOSEPH J. MUELLER
             9                                            MARK D. SELWYN
                                                          AMY K. WIGMORE
           10                                             JOSHUA H. LERNER
           11                                             SARAH R. FRAZIER
                                                          NORA Q.E. PASSAMANECK
           12                                             THOMAS G. SPRANKLING
           13                                             WILMER CUTLER PICKERING HALE AND
                                                          DORR LLP
           14
           15                                             BRIAN A. ROSENTHAL
                                                          GIBSON, DUNN & CRUTCHER LLP
           16
           17                                             KENNETH G. PARKER
                                                          HAYNES AND BOONE, LLP
           18
           19
           20                                             By: /s/ Mark D. Selwyn
                                                              Mark D. Selwyn
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           22
                                                          Attorneys for Defendant Apple Inc.
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Wilmer Cutler
Pickering Hale      APPLE’S NOTICE OF AVAILABILITY PURSUANT TO THE COURT’S JUNE 25 ORDER (DKT. 1983
and Dorr LLP
                                                              1            CASE NO. 8:20-cv-00048-JVS (JDEX)
